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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA            :
                                    :
          v.                        :                      Case 1:22-cr-00064-RBW
                                    :
LLOYD CASIMIRO CRUZ, JR.            :
                                    :
           Defendant.               :
_____________________________________
                      DEFENDANT LLOYD CASIMIRO CRUZ, JR.’s
                              NOTICE OF APPEAL

       Plaintiff LLOYD CASIMIRO CRUZ, JR. (“Cruz”) by undersigned counsel, hereby

appeals his judgment of conviction and sentence, to the Court of Appeals.

       Dated: May 9, 2023            RESPECTFULLY SUBMITTED
                                     LLOYD CASIMIRO CRUZ, JR.,
                                          By Counsel




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                                            Attorney for Defendant


                             CERTIFICATE OF SERVICE

       I hereby certify that this document is being filed on this December 16, 2022, with the
Clerk of the Court by using the U.S. District Court for the District of Columbia’s CM/ECF
system, which will send an electronic copy of to the following CM/ECF participants. From my
review of the PACER account for this case the following attorneys are enrolled to receive notice
and a copy through the ECF system.
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               _____________________________
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